              Case 1:17-cr-10281-PBS
                   l:17-cr-10281-PBS Document
                                     Document82
                                              83 Filed 10/22/18 Page 1
                                                                     lot2
                                                                       of 1



                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS

    UNITED STATES OF AMERICA                     )
                                                 )
    V.                                           )               No.: 17-cr-10281-PBS

    DALVONISDELAROSA ARIAS, ETAL )

                                   MOTION TO CONTINUE TRIAL

                                  ASSENTED TO BY ALL PARTIES


W          The defendant in the above-captioned matters moves this Honorable Court to continue

    the trial scheduled forNovember 13,2018 to March 18, 2019. As grounds, undersigned counsel

    is currently on trial inSuffolk Superior Court in a case scheduled to last through mid-November.
    The Superior Court (Krupp, J.) has informed the jurors tobe available through mid-November.
    Counsel for the government and codefendant assent to a continuance.

           Further, counsel for all parties have conferred and, given counsel's respective calendars,

    have found March 18, 2019 to be the first jointly available date for the week-long trial.

           For the above-stated reasons, the defendant respectfully request the CourtALLOW this

    motion.

                                                         Respectfully submitted,
                                                          DALVONIS DELAROSA ARIAS
                                                          By his attorney:

                                                          /s/ David J. Grimaldi

                                                          David J. Grimaldi
                                                          David J. Grimaldi, P.C.
                                                          BBO No. 669343
                                                          675 Massachusetts Avenue, 9"^ Floor
                                                          Cambridge, MA 02139
                                                          617-661-1529 (tel)
                                                          857-362-7889 (fax)
    DATE: October 22, 2018                                david@attomevgrimaldi.com
